 

Case 1:19-cv-08107-JGK Document 30 Filed 1@f22#2m rey

 

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK DOC #: _
DATE FILED: 10/22/20

 

 

 

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GLADSTONE GORDON,
Plaintiff, 19-cv-8107 (JGK)

- against - OPINION AND ORDER

 

GENERAL PROPERTY MANAGEMENT
ASSOCIATES, INC. & 124 WEST 24TH
STREET CONDOMINIUM,

Defendants.

 

JOHN G. KOERLTL, District Judge:

The plaintiff, Gladstone Gordon, brings this action against
the defendants, General Property Management Associates, Inc,
(“General Property”) and 124 West 24th Street Condominium (the
“Condo”) under the Fair Labor Standards Act (“FLSA”’), the New
York Labor Law (“NYLL”}, and the New York Code, Rules, and
Regulations (“NYCRR”). The plaintiff principally alleges that
the defendants failed to pay him overtime compensation.

The defendants move for summary judgment, arguing that the
Court lacks jurisdiction under the FLSA because there is neither
enterprise nor individual coverage. Additionally, the defendants
argue that Mr. Gordon is a janitor under the New York Labor Law
and is therefore not entitled to overtime. Finally, the
defendants argue that General Property was not Mr. Gordon’s

employer.

 

 
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For the reasons discussed below, the motion for summary

judgment is granted in part and denied in part.
I

The following facts are undisputed unless otherwise noted.

The Condo, a residential building located on 124 West 24th
Street, New York, New York, employed Mr. Gordon as the janitor
and superintendent from June 2007 until November 2018. Pl.’s
Rule 56.1 Stmt. @T1 1-3, 5. In November 2018, Mr. Gordon took a
medical leave of absence and has not returned to his job at the
Condo. Id. @ 8.

During his employment at the Condo, Mr. Gordon’s
responsibilities included, among other things: inspecting and
cleaning the elevators, motors, pumps and the Condo’s other
mechanical equipment; maintaining its walkways, including
sweeping, washing and shoveling; cleaning the lobby, the hallway
and common area walls; trash and recyclable removal; mopping,
sweeping and vacuuming all of the Condo’s floors; inspecting
light fixtures; delivering residents’ packages; and inspecting
the roof, drains and gutters on a weekly basis. Id. @ 6. All of
Mr. Gordon’s work was performed at the Condo building, and he
was the sole employee of the Condo. Id. SU 7, 9, 23. Mr. Gordon
received a weekly salary of $1,040.00. Id. § 11. Mr. Gordon
alleges that he was required to work 49.5 hours per week without

any overtime pay. Id. 9 10. The Condo’s financial statements

 
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reflect that the total wages paid to its only employee directly
correlate with Mr. Gordon's total income stated on the Employee
Earnings Cards. Id. { 23. The statements further show that for
the year ending December 31, 2018, the Condo recorded revenues
of $240,600. Salzburger Aff., Ex. D at 69.

In 2012, five years after hiring Mr. Gordon, the Condo
engaged General Property, a professional property management
services firm, to manage the building. Pl.’s Rule 56.1 Stmt.
qG 12-13. General Property was responsible for overseeing the
day-to-day operations of the Condo, collecting the unit owners’
common charges, entering into various agreements to maintain the
Condo’s premises, supervising Mr. Gordon’s performance of his
job duties, and paying bills incurred by the Condo. Id. @ 15.

Beyond those basic facts, the parties dispute the nature of
the relationship between Mr. Gordon and General Property. The
defendants assert that Mr. Gordon performed ail work for the
benefit of the Condo, and that General Property’s role vis-a-vis
Gordon was to supervise his job responsibilities and provide him
with a paycheck issued from the Condo’s account. D.’s Rule 56.1
Stmt. Ul 7, 16, 22. The defendants maintain that General
Property had no authority to use its independent judgment
related to Gordon, his pay or his job responsibilities and that
their role in connection with paying Mr. Gordon was purely

ministerial. Id. @% 25-27. Mr. Gordon challenges the validity of

 
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these assertions with the following facts: first, after assuming
its management duties, a General Property manager issued Mr.
Gordon a document titled “Duties and Responsibilities of the
Superintendent,” Pl.’s Rule 56.1 Stmt. 91 7; Gordon Deci. WV 10,
Ex, A; second, both defendants paid Mr. Gordon in that both
entities’ names appeared on his paystubs, wage statements, and
sign-in sheets, Gordon Decl. 9 11, Ex. B; third, the management
agreement between the defendants provides that General Property
“shall render services and perform duties .. . [o]n the basis
of an operating schedule, job standards, and wage rates
previously approved by [the Condo] on the recommendation of
[General Property],” Salzberger Aff., Ex. B.

Mr. Gordon brought this action against the defendants
seeking compensation for overtime pay for all hours worked per
week in excess of forty at the rate of one and one-half times
his regular pay, liquidated damages, and attorney’s fees
pursuant to the FLSA, 29 U.S.C. § 207 (a). Compl. qi 22-28. Mr.
Gordon brought an analogous claim under NYLL § 160 and
NYCRR §141-1.4. Finally, Mr. Gordon is seeking damages for the
defendants’ failure to furnish him wage statements with the
criteria enumerated in NYLL § 195(3), pursuant to the statutory

amounts listed in NYLL § 198(1-d).

 
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It
The standard for granting summary judgment is well
established. “The Court shall grant summary judgment if the
movant shows that there is no genuine dispute as to any material
fact and the movant is entitled to judgment as a matter of

law.” Fed. R. Civ. P. 56(a); see also Celotex Corp. v. Catrett,

 

477 U.S. 317, 322-23 (1986).* “[T]he trial court’s task at the
summary judgment motion stage of the litigation is carefully

limited to discerning whether there are any genuine issues of
material fact to be tried, not to deciding them. Its duty, in
short, is confined at this point to issue-finding; it does not

extend to issue-resclution.” Gallo v. Prudential Residential

 

Servs., Ltd, P’ship, 22 F.3d 1219, 1224 (2d Cir. 1994). The

 

moving party bears the initial burden of “informing the district
court of the basis for its motion” and identifying the matter
that “it believes demonstrate[s] the absence of a genuine issue
of material fact.” Celotex, 477 U.S. at 323. The substantive law
governing the case will identify those facts that are material
and “[o]nly disputes over facts that might affect the outcome of
the suit under the governing Law will properly preclude the

entry of summary judgment.” Anderson v. Liberty Lobby, Inc., 477

 

U.S. 242, 248 (1986).

 

1 Unless otherwise noted, this Opinion omits all alterations, citations,
footnotes, and internal quotation marks in quoted text.

 
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In determining whether summary judgment is appropriate, a
court must resolve all ambiguities and draw all reasonable

inferences against the moving party. See Matsushita Elec. Indus.

 

Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986). Summary

 

judgment is improper if there is any evidence in the record from
any source from which a reasonable inference could be drawn in

favor of the nonmoving party. See Chambers v. TRM Copy Ctrs.

 

Corp., 43 F.3d 29, 37 (2d Cir. 1994). If the moving party meets
its burden, the nonmoving party must produce evidence in the
record and “may not rely simply on conclusory statements or on
contentions that the affidavits supporting the motion are not

credible.” Ying Jing Gan v. City of New_York, 996 F.2d 522, 532

 

(2d Cir. 1993). “Something more than a fanciful allegation is
required to justify denying a motion for summary judgment when
the moving party has met its burden of demonstrating the absence
of any genuine issue of material fact. A ‘bare assertion’ that
the evidence supporting a plaintiff's allegation is in the hands
of the defendant is insufficient to justify a denial of a motion

for summary judgment.” Contemporary Mission v. United States

 

Postal Serv., 648 F.2d 97, 107 (2d Cir. 1981).
IIt
The defendants make three arguments to support their motion
for summary judgment. First, with respect to Mr. Gordon’s FLSA

claim, they argue that the Court lacks jurisdiction to hear the

 
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claim because the employer is not subject to the FLSA under
either enterprise or individual coverage. Second, they argue
that General Property was not Mr. Gordon’s employer and the case
must therefore be dismissed against General Property in its
entirety. Third, the defendants argue that the NYLL claim is
barred by the janitorial exception.
A

The FLSA requires employers who meet certain conditions to
provide overtime pay for work that exceeds forty hours per week,
See 29 U.S.C. § 207 (a). Because the FLSA was enacted to
“correct” and “eliminate,” id. § 202(b), “labor conditions
detrimental to the maintenance of the minimum standard of living
necessary for health, efficiency, and general well-being of
workers,” id. § 202{a), courts construe the statute “liberally
to apply to the furthest reaches consistent with congressional

direction.” Jacobs v. N.Y. Foundling Hosp., 577 F.3d 93, 97 n.2

 

(2d Cir. 2009) (per curiam) (quoting Tony & Susan Alamo Found.

 

v. Secty of Labor, 471 U.S. 290, 296 (1985)). Employees qualify

 

for the FLSA's protections if (1) in any workweek the employee
is “engaged in commerce or in the production of goods for
commerce,” 29 U.S.C. § 206 (individual coverage), or (2) the
employee “is employed in an enterprise engaged in commerce or in
the production of goods for commerce,” id. § 207 (a) (1)

(enterprise coverage).

 

 
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Mr. Gordon does not assert that he is entitled to
individual coverage under the FLSA. Rather, he claims that the
FLSA's overtime provisions apply based on a theory of enterprise
coverage. Under an “enterprise coverage” application, the
employee does not himself need to be invoived in an activity
that affects interstate commerce. Jacobs, 577 F.3d at 96-97
(citing Alamo Found., 471 U.S. at 296). All employees of a
business are covered under an enterprise theory if the defendant
business {1) “has employees engaged in commerce or in the
production of goods for commerce, or that has employees
handling, selling, or otherwise working on goods or materials
that have been moved in or produced for commerce by any person”;
and (2) “is an enterprise whose annual gross volume of sales
made or business done is not less than $500,000.” 29 U.S.C.

§ 203(s) (1) (A).

The FLSA, in turn, defines an “enterprise” as “the related
activities performed (either through unified operation or common
control) by any person or persons for a common business purpose,
and includes all such activities whether performed in one or
more establishments or by one or more corporate or other
organizational units including departments of an establishment
operated through leasing arrangements, but shall not include the
related activities performed for such enterprise by an

independent contractor.” 29 U.S.C. § 203(r} (1). Reflecting this

 
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broad Language, the regulations promulgated by the Department of
Labor (“DOL”) under the FLSA explain that “several employers may
conduct their business activities in such a manner that they are
part of a single enterprise.” 29 C.F.R. § 779.204.

Once the requirement of an “enterprise” is satisfied,
liability under the FLSA extends to any “employer.” 29 U.S.C.

§ 216(b); see Herman v. RSR Sec. Servs. Ltd., 172 F.3d 132, 139

 

(2d Cir. 1999). The FLSA defines an “employer” as “any person
acting directly or indirectly in the interest of an employer in
relation to an employee.” 29 U.S.C. § 203{d). “An entity
‘employs’ an individual under the FLSA if it ‘suffer[s] or

permit[s]’ that individual to work.” Zheng v. Liberty Apparel

 

Co., 355 F.3d 61, 66 (2d Cir. 2003) (quoting 29 U.S.C.

§ 203(g)). This is “the broadest definition [of S‘employ’] that
has ever been included in any one act and it encompasses working
relationships, which prior to [the FLSA], were not deemed to
fall within an employer-employee category.” Id. at 69. “The
regulations promulgated under the FLSA expressly recognize that
a worker may be employed by more than one entity at the same
time.” Id. at 66 (citing 29 C.F.R. § 791.2). As such, an entity
that does not formally employ an individual may nevertheless be
subject to joint and several liability under the FLSA as a

“joint employer.” See 29 C.F.R. § 791.2(f) (“For each workweek

that a person is a joint employer of an employee, that joint

 

 

 
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employer is jointly and severally liable with the employer and
any other joint employers for compliance with all of the
applicable provisions of the Act, including the overtime
provisions, for all of the hours worked by the employee in that
workweek.”}.

The Second Circuit Court of Appeals has described the
question of employment for FLSA purposes as “a flexible concept
to be determined on a case-by-case basis by review of the

totality of the circumstances.” Barfield v. New York City Health

 

& Hosps. Corp., 537 F.3d 132, 141-42 (2d Cir. 2008). To
determine whether an entity is an “employer” for purposes of the
FLSA, courts in this circuit have relied on “a nonexclusive and
overlapping set of factors” “(1) to examine the degree of formal
control exercised over a worker; (2) to distinguish between
independent contractors and employees; and (3) to assess whether
an entity that lacked formal control nevertheless exercised
functional control over a worker.” Id. at 143. Ultimately, due
to the “fact-intensive character of a determination of joint
employment,” courts “rarely” make the determination as a matter
of law on a motion for summary judgment. Id. at 143-44; see also

Ling Nan Zheng v. Liberty Apparel Co., 355 F.3d 61, 76 n.13 (2d

 

Cir. 2003) (“The fact-intensive character of the joint
employment inquiry is highlighted by the fact that two of the

three leading cases in this circuit were appeals from judgments

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following bench trials. In the third case, we decided that
genuine issues of material fact precluded summary judgment on
the ultimate issue of FLSA coverage.”}.
B

Turning first to the issue of enterprise coverage, the
question of whether a defendant qualifies as an enterprise under
the FLSA is not a jurisdictional issue, as the defendants state,
but an element that a plaintiff must establish in order to prove

liability. Velez v. Vassallo, 203 F. Supp. 2d 312, 332 (S.D.N.Y.

 

2002). As such, in order to survive summary judgment, the
plaintiff need not prove that enterprise coverage exists but
rather that a material dispute of fact regarding the issue is

present. Monterossa v. Martinez Rest. Corp., No. 1ll-cv-30689,

 

2012 WL 3890212, at *3 (S.D.N.Y. Sept. 7, 2012).

Mr. Gordon has done so here. As it relates to the Condo
itself, the evidence submitted by the defendants shows the Condo
does not qualify for enterprise coverage under the FLSA. It is
undisputed that Mr. Gordon was the only employee of the Condo.
Pl.’s Rule 56.1 Stmt. 7 9. Furthermore, the financial statements
show that the Condo had revenue of less than $500,000.
Salzburger Aff., Ex. D at 69. On this point, Mr. Gordon argues
that “additional discovery is needed to ascertain the
completeness and/or validity of [the Condo’s] financial

statements to determine if they are accurate and complete.”

Ll

 
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Pl.’s Rule 56.1 Stmt. 7 24. However, Mr. Gordon provides no
basis for doubting the accuracy of the financial statements
provided by the defendants, and “[s]omething more than a
fanciful allegation is required to justify denying a motion for
summary judgment when the moving party has met its burden of
demonstrating the absence of any genuine issue of material

fact.” Contemporary Mission, 648 F.2d at 107.

 

While the Condo, taken alone, does not qualify as an
“enterprise” within the meaning of the FLSA, Mr. Gordon has
successfully demonstrated that genuine issues of fact exist with
respect to enterprise coverage arising from the relationship
between the Condo and General Property. The Act defines
“enterprise” expansively to include “related activities
performed (either through unified operation or common control)
by any person or persons for a common business purpose.” 29
U.S.C. § 203{r) (1). “The three main elements of the statutory
definition of ‘enterprise’” are (i) “related activities”, (ii)
“unified operation or common control”, and (111) “common

business purpose.” Brennan v. Arnheim & Neely, Inc., 410 U.S.

 

512, 518 (1973). With respect to the first element, activities
will be regarded as “related” when they are “auxiliary or
service activities such as warehousing, bookkeeping, purchasing,
advertising, including, generally, all activities which are

necessary to the operation and maintenance of the particular

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business.” 29 C.F.R. § 779.206(b); see also Bowrin v. Catholic

 

Guardian Soc'y, 417 F. Supp. 2d 449, 458 (S.D.N.Y. 2006)
(relying on 29 C.F.R. § 779.206(b)). Within this meaning, the
activities of the Condo and General Property were related.
General Property provides services to the Condo that are
integral to its operations, such as collecting common charges,
managing the superintendent, and paying various expenses. Pl.’s
Rule 56.1 Stmt. FI 12-16.

The element of “common control” includes the “power to
direct, restrict, regulate, govern, or administer the
performance of the activities.” Id. (citing 29 C.P.R. §
779,221). Mr. Gordon has shown that an employee of General
Property acted as his supervisor, that his paystubs were issued
together by the Condo and General Property, and that the
agreement between the Condo and General Property contemplated
the possibility of General Property giving recommendations to
the Condo with respect to the operating schedule, job standards,
and wage rates. Pl.’s Rule 56.1 Stmt. TI 7; Gordon Decl., Ex. B;
Salzburger Aff., Ex. B, at 2. These facts suggest that both the
Condo and General Property exercised substantial control over
management of the building both with respect to Mr. Gordon and
otherwise.

Finally, with respect to the third element, the record

shows that there was a “common business purpose” in the

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relationship between the Condo and General Property. Namely, the
agreement between the defendants establishes an agency
relationship pursuant to which General Property was engaged to
manage the operations of the building. Salzberger Aff., Ex. B.
In sum, from the record submitted, there is sufficient
evidence to infer that the relationship between the Condo and
General Property gave rise to an enterprise within the meaning
of the FLSA. Although the record does not clearly establish that
this enterprise exceeds the required dollar threshold contained
in 29 U.S.C. § 203({s) (1) (A), the defendants do not proffer any
evidence to the contrary. While the defendants contend that the
Condo does not have gross annual revenues of at least $500,000,
they make no such contention with respect to General Property.
Given the description of General Property as a “professional
property management service located in. . . New York,” D.’s
Rule 56.1 Stmt. @ 5, that “is experienced in the management of
condominium residential properties and working with condominium
associations in the City of New York and thoroughly familiar
with the requirements of providing first class management,”
Salzberger Aff., Ex. B at 1, there is a “genuine dispute as to
material fact[s],” Fed. R. Civ. P. 56(a), whether General
Property together with the Condo has revenues over $500,000.
The parties confuse the issue of enterprise status (here,

the existence of a single enterprise between the Condo and

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General Property) with the issue of employment (here, whether
General Property was a “joint employer” of Mr. Gordon). The
existence of an enterprise is a threshold issue that determines
the applicability of the FLSA to a particular employee, while
being an “employer”’-or a “joint employer” as the case may be—
determines the scope of liability under the Act. See Chao v. A-
One Med. Servs., 346 F.3d 908, 917 (9th Cir. 2003} (“Whether two
companies constitute a single enterprise for FLSA coverage and
whether they are liable as joint employers under § 207 are
technically separate issues.”); Patel v. Wargo, 803 F.2d 632,
637 (lith Cir. 1986) (“The enterprise analysis is different from
the analysis of who is liable under the FLSA. The finding of an
enterprise is relevant only to the issue of coverage.”). The
defendants’ objection that “joint employers” cannot be
aggregated for the purposes of coverage under the FLSA is
misplaced. The single enterprise concept is the correct method
to determine FLSA coverage and the proper method for aggregation
of economic activity among disparate employers. See, €.g.,
Brennan, 410 U.S. at 521 (holding that the building management
activities of the defendant constituted a “single enterprise”
and, as such, should be aggregated for coverage purposes); see
also 29 C.F.R. § 779.201 (“The ‘enterprise’ is the unit for
determining whether the conditions of . . . the requisite dollar

volume are met. The ‘enterprise’ is also the unit for

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determining which employees not individually covered by the Act
are entitled to .. . overtime .. . benefits.”).
c

The defendants also argue that summary judgment should be
granted with respect to General Property because it was not Mr.
Gordon’s employer. In response, Mr. Gordon argues that General
Property was a joint employer together with the Condo.

The employment relationship is conceived broadly under the
FLSA and an employee can have multiple employers. The
determination of whether an employer-employee relationship
exists for purposes of the FLSA should be grounded in "economic

reality rather than technical concepts." Goldberg v. Whitaker

 

House Coop., Inc., 366 U.S. 28, 33 (1961). Courts in the Second

 

Circuit use two approaches to determine whether an employment
relationship exists. An employment relationship may arise as a
result of formal control exercised over a worker considering the
following factors: (1) the power to hire and fire the employees;
(2) supervision and control of employee work schedules or
conditions of employment; (3) determining the rate and method of
payment; and (4) maintenance of employment records. See

Barfield, 537 F.3d at 142 (citing Carter v. Dutchess Cmty.

 

Coll., 735 F.2d 8, 12 (1984)). Where formal control does not
exist, an entity may nonetheless exercise sufficient functional

control to be deemed an employer depending on a consideration of

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the following factors: (1) the alleged employer's premises and
equipment were used for the plaintiffs' work; (2) the primary
employer had a business that could or did shift as a unit from
one alleged joint employer to another; (3) the plaintiffs
performed a discrete line-job that was integral to the alleged
employer's process of production; (4) responsibility under the
contracts could pass from one subcontractor to another without
material changes; (5) the alleged employer or [its] agents
supervised plaintiffs' work; and (6) plaintiffs worked
exclusively or predominantly for the alleged employer. See Id.

at 143 {citing Zheng v. Liberty Appareil Co., 355 F.3d 61, 72 (2d

 

Cir. 2003)}). These rules “state no rigid rule for the
identification of an FLSA employer [but rather] they provide a

set of factors to ensure that the economic realities test
mandated by the Supreme Court is sufficiently comprehensive and
flexible to give proper effect to the broad language of the
FLSA.” Id.

Mr. Gordon has produced sufficient evidence to demonstrate
a genuine question of fact with respect to joint employment by
General Property. Mr. Gordon has shown, and the defendants do
not dispute, that he was supervised by General Property. Pl.'s
Rule 56.1 Stmt. 9 15; Salzberger Aff., Ex. B at 2. Furthermore,
the agreement between the defendants provided that General

Property could “hire, pay, supervise, and discharge the

1?

 
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[Condo’s}] personnel” in accordance with “an operating schedule,
job standard, and wage rates previously approved by the [Condo]
on the recommendation of [General Property].” Salzberger Aff.,
EX. B at 2. The defendant’s chief objection is that General
Property was merely implementing the policies set by the Condo
and performing the ministerial function of remitting payment to
Mr. Gordon. The problem with this argument is twofold. First,
the express language of the agreement demonstrates that General
Property could affect these policies by making recommendations
to the Condo. Such recommendations, if adopted by the Condo,
vest General Property with sufficient “indirect” control to
qualify it as an employer within the meaning of the FLSA. See
Shultz v. Falk, 439 F.2d 340, 345 (4th Cir. 1971), aff'd, Falk
v. Brennan, 414 U.S. 190, 210 (1973) (“Defendants either
directly or indirectly hire, fire, and supervise the building
workers. .. . [T]he decisions behind budget allocations appear
to be considerably influenced by defendants' recommendations,
since defendants are real estate management experts.”). Second,
the agreement plainly put General Property in charge of
implementing the policies, thus exerting significant control
over Mr. Gordon. See Barfield, 537 F.3d at 144 (“The fact that
the [primary employer] may have exercised ‘ultimate’ authority
in. . . areas [of hiring, firing, and conditions of employment]

does not alter the fact that [the alleged joint employer] also

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exercised some authority which helps establish the economic

 

reality of its status as a joint employer.”) (emphasis added).
In addition, Mr. Gordon showed that General Property
administered his timesheets and pay, which is some evidence that
General Property was responsible for maintaining his employment
records. See Gordon Decl., Ex. B. In all, the record contains
sufficient evidence to demonstrate that three of the Carter
factors—power to hire and fire, supervision, and maintenance of
records—tip in favor of finding joint employment.

This conclusion is further supported by the seminal Supreme
Court decision on joint employment in Falk v. Brennan that
concerned the very question presented here: whether “maintenance
workers employed at the buildings managed by [a real estate
management company]” are “employees of the apartment owner or of
the [real estate management company]” under the FLSA. 414 U.S.
at 195. The Court held that “[i]n view of the expansiveness of
the Act's definition of ‘employer’ and the extent of [the
management company’s] managerial responsibilities at each of the
buildings, which gave it substantial control of the terms and
conditions of the work of these employees .. . [the management
company] is, under the statutory definition, an ‘employer’ of
the maintenance workers.” Id. There, like here, the management

company could merely make recommendations to the owners with

respect to key decisions. Shultz v. Falk, 439 F.@d at 345.

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Nonetheless, the Supreme Court found that this amount of control
sufficed to render it an employer under the FLSA as someone
“acting directly or indirectly in the interest of an employer in
relation to an employee.” 29 U.S.C. § 203 (d).

Accordingly, the motion for summary judgment on the FLSA
claim with respect to both defendants is denied.

D

Finally, the defendants argue that the New York Labor Law
claim must be dismissed under the janitorial exception.

New York’s labor regulations provide that “fa]n employer
shall pay an employee, except a janitor in a residential
building, for overtime at a wage rate of 1 1/2 times the
employee's regular rate for hours worked in excess of 40 hours
in a workweek.” N.Y. Comp. Codes R. & Regs. tit. 12, § 141-1.4.
The regulations define “janitor” as “a person employed to render
any physical service in connection with the maintenance, care or
operation of a residential building. Where there is only one
employee, such employee shall be deemed the janitor. Where there
is more than one employee in the building, the employer shall
designate an employee who lives in the building as the janitor.
No building may have more than one janitor.” Id. § 141-3.4.
“[W]hen only one employee is capable of being designated the
janitor — either because he or she is the only employee

performing janitorial services in the building, or the only such

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employee living in the building — then the employee is
considered the exempt janitor under section 141-3.4 regardless
of whether the employee was designated as such.” Contrera v.
Langer, 290 F. Supp. 3d 269, 275 (S.D.N.Y. 2018). When there are
multiple employees providing janitorial services, courts have
used a multi-factor test to determine whether a reasonable jury
would necessarily find that an employee was the designated
janitor: “(i) whether Plaintiff was the only employee who lived
in the building; (ii) the manner in which Plaintiff and other
employees were compensated; (iii) whether Plaintiff was listed
as a ‘janitor’ or ‘superintendent’ in the employer’s official
business records; (iv) whether Plaintiff received written notice
that he would be compensated as a building janitor; and (v)
whether Plaintiff or his employer represented to third parties
that Plaintiff was the ‘janitor’ or ‘superintendent.’” Almonte

vy. 437 Morris Park, LLC, No. 14-cv-5951, 2015 WL 7460019, at ¥*5

 

(S.D.N.Y. Nov. 24, 2015).

Mr. Gordon does not dispute that he was the only employee
of the building or that he was employed as a superintendent and
was represented as such to third parties. Instead, referencing
the multi-factor test from Almonte, Mr. Gordon argues that he
never received notice about being compensated as a janitor and
that the defendants did not offer any evidence that he was

listed as a “janitor” or “superintendent” in their records, thus

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allegedly raising a question of fact on these issues. However,
Mr. Gordon’s reliance on the Almonte test is misplaced. As the
court there made clear, this multi-factor inquiry was only
necessary in that case because multiple employees in that
building were employed as janitors, thus creating a question of
which one of them was designated as such for the purposes of the
janitorial exemption from New York’s overtime law. Here, in
contrast, the building has only one employee and the regulation
is clear that “[w]here there is only one employee, such employee
shall be deemed the janitor.” N.Y. Comp. Codes R. & Regs. tit.
12, § 141-3.4. Therefore, Mr. Gordon is indisputably a janitor,
exempt from the overtime provisions of NYCRR. Accordingly, the
defendants’ motion for summary judgment is granted with respect

to the New York Labor Law overtime claim.

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CONCLUSION

The Court has considered all the arguments of the parties.
To the extent not specifically addressed above, the arguments
are either moot or without merit. For the reasons explained
above, the motion for summary judgment on the FLSA claim is
denied. The motion for summary Judgment dismissing the NYLL and
NYCRR overtime claim is granted. The defendants’ motion for
summary judgment did not address the third claim for relief
under NYLL § 195(3) and accordingly that claim can proceed. The
Clerk is directed to close Dkt. No. 19.

SO ORDERED.

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Dated: New York, New York ~ _\ Lo / ( SO

 

October 22, 2020
Nee John G. Koeltl

United States District Judge

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